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 1   DOUGLAS L. RAPPAPORT (SBN 136194)
     MICHELLE M. THOMSON (SBN 193658)
 2   LAW OFFICES OF DOUGLAS L. RAPPAPORT
     260 California Street, Suite 1002
 3   San Francisco, CA 94111
     (415) 989-7900
 4
     Attorneys for Defendant
 5   CANDY WU
 6
                                  UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                     Criminal No. 2:08-cr-0064
10                                                                 STIPULATION AND
                                    Plaintiff,                     ORDER TO CONTINUE
11                                                                 JULY 24, 2008
                                                                   STATUS CONFERENCE AND
12                                                                 EXCLUDE TIME
     v.
13
     CANDY WU, et al.,
14                           Defendants.
     _______________________________________/
15
16          IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
17   Michael Beckwith, counsel for the plaintiff, and below signed counsel for each of the defendants
18   in the above mentioned case, that the status conference now scheduled for July 24, 2008 at 10:00
19   a.m., is extended until September 11, 2008 at 10:00 a.m., or as soon thereafter as is convenient
20   for the Court.
21          This continuance is sought in order to permit continuation of on-going negotiations.
22          The defense and government are jointly requesting this continuance.
23          The court interpreter coordinator, Yolanda Riley Portal has been notified and has
24   indicated that September 11, 20008 is an available date for the interpreter’s office.
25          IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act continues
26   to be excluded from July 24, 2008 through September 11, 2008, pursuant to 18 U.S.C.§ 3161
27   (h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
28
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 1          IT IS SO STIPULATED.
 2
     Dated: 7-22-08                                     ____________/s/____________________
 3                                                      MICHAEL BECKWITH
                                                        Counsel for Plaintiff
 4
 5   Dated: 7-22-08                                     ___________ /s/____________________
                                                        DOUGLAS L. RAPPAPORT
 6                                                      Counsel for CANDY WU
 7
 8   Dated: 7-22-08                                     _____________/s/___________________
                                                        DOUGLAS HORNGRAD
 9                                                      Counsel for FU LONG WU
10
11
12
                                                  ORDER
13
14          IT IS SO ORDERED the July 24, 2008 Status Conference is VACATED and
15   CONTINUED to September 11, 2008 at 9:00 a.m. in the courtroom of the Honorable Morrison
16   C. England, Jr. Time is excluded through that date pursuant to 18 U.S.C.§ 3161 (h)(8)(A) &
17   (B)(ii) and (iv), Local Codes T-2 and T-4.
18
19    Dated: August 4, 2008

20                                                ________________________________
                                                  MORRISON C. ENGLAND, JR.
21                                                UNITED STATES DISTRICT JUDGE
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